         Case
          Case2:12-cr-00463-JCM-VCF
                2:12-cr-00463-JCM-VCF Document
                                      Document314  Filed08/22/14
                                               311 Filed 08/28/14 Page
                                                                   Page11
                                                                        ofof
                                                                           55



 1   JAMES A. ORONOZ, ESQ.
     Nevada Bar No. 6769
 2   ORONOZ & ERICSSON LLC
 3   700 South Third Street
     Las Vegas, Nevada 89101
 4   Telephone: (702) 878-2889
     Facsimile: (702) 522-1542
 5   jim@oronozlawyers.com
 6   Attorney for Carolyn Willis-Casey

 7                                UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9
                                                   )
10                                                 )
     UNITED STATES OF AMERICA,                     )
11                                                 )   CASE NO: 2:12-cr-463-JCM-VCF
                     Plaintiff,                    )
12                                                 )   UNOPPOSED MOTION TO
                     vs.                           )   TEMPORARILY MODIFY CONDITIONS
13                                                 )   OF PRETRIAL RELEASE AND
     CAROLYN WILLIS-CASEY,                         )   PROPOSED ORDER
14                                                 )
                     Defendant.                    )   (Fourth Request)
15                                                 )
                                                   )
16                                                 )

17          COMES NOW, JAMES A. ORONOZ, ESQ., counsel for CAROLYN WILLIS-CASEY,
18   and hereby submits the following Unopposed Motion to Temporarily Modify Conditions of
19
     Pretrial Release. This Motion seeks a Court order authorizing pretrial services to temporarily
20
     return Ms. Willis-Casey’s passport to her so that she may renew her passport and her Nevada
21
22   driver’s license.

23   DATED this 22nd day of August, 2014.               Respectfully Submitted by:
24
                                                        /s/ James A. Oronoz        .
25                                                      JAMES A. ORONOZ, Esq.
                                                        700 South 3rd Street
26                                                      Las Vegas, NV 89101
                                                        Counsel for Carolyn Willis-Casey
27
28


                                                   1
         Case
          Case2:12-cr-00463-JCM-VCF
                2:12-cr-00463-JCM-VCF Document
                                      Document314  Filed08/22/14
                                               311 Filed 08/28/14 Page
                                                                   Page22
                                                                        ofof
                                                                           55



 1
 2                                     STATEMENT OF FACTS
 3          On May 20, 2014, the United States government filed a Third Superseding Indictment
 4   charging the Defendant, Carolyn Shelmadine Willis-Casey, along with several co-defendants,
 5
     with Theft of Government Money, in violation of 18 U.S.C. § 641; False Citizenship Claim, in
 6
     violation of 18 U.S.C. § 911; False Statement in Application for a Passport, in violation of 18
 7
 8   U.S.C. § 1542; Aggravated Identity Theft, in violation of 18 U.S.C. § 1028(a)(1); Conspiracy,

 9   in violation of 18 U.S.C. § 1349; and Mail Fraud, in violation of 18 U.S.C. § 1341.
10
            Ms. Willis-Casey’s role in the alleged conspiracy, at the outset, appears to have been
11
     relatively minor. On November 14, 2013, this Court issued an Order releasing Ms. Willis-
12
     Casey from pretrial detention on her own recognizance and setting several conditions of
13
14   release. Included among those conditions were requirements that Ms. Willis-Casey surrender

15   her legally obtained passport to pretrial services and that she obtain no other travel documents.
16
     She has complied with these conditions.
17
            Ms. Willis-Casey, a legal resident of the United States, must renew her passport and her
18
19   Nevada driver’s license. An agent at the United States Customs and Immigration Services

20   informed Ms. Willis-Casey that she must renew her passport and her Nevada driver’s license
21   every six (6) months because she has a criminal case pending in federal court. The respective
22
     processes of renewing her passport and her Nevada driver’s license require that Ms. Willis-
23
     Casey present her passport in order to verify her lawful presence in the Unites States. Ms.
24
25   Willis-Casey estimates that she will be able to complete both transactions in one (1) day.

26          On August 7, 2014, Ms. Willis-Casey filed an Unopposed Motion to obtain her
27   passport (Doc. 305). The motion included a proposed order with a specific date (August 20,
28


                                                      2
         Case
          Case2:12-cr-00463-JCM-VCF
                2:12-cr-00463-JCM-VCF Document
                                      Document314  Filed08/22/14
                                               311 Filed 08/28/14 Page
                                                                   Page33
                                                                        ofof
                                                                           55



 1   2014) for Ms. Willis-Casey to obtain her passport. Because that date has expired without a
 2   ruling from the Court, Ms. Willis-Casey submits the instant request.
 3
            Ms. Willis-Casey now seeks an order from this honorable Court temporarily modifying
 4
     her conditions of pretrial release and authorizing pretrial services to temporarily return her
 5
 6   passport on for one (1) day, so that she may renew her passport and Nevada driver’s license.

 7          The Government, by and through U.S. Attorney J. Gregory Damm, does not oppose the
 8
     instant request.
 9
                        MEMORANDUM OF POINTS AND AUTHORITIES
10
            A judicial officer may, at any time, amend an order setting conditions of release in order
11
     to impose different conditions. 18 U.S.C. § 3142(c)(3).
12
13          Here, Ms. Willis-Casey asks only that the conditions of her release be modified

14   sufficiently to allow her to renew her passport and Nevada driver’s license. As mentioned above,
15
     she has fully cooperated with the conditions of her pretrial release and there is no indication
16
     whatsoever that she is a danger to the community or that she represents a flight risk such that she
17
18   should not be allowed to possess her passport for a brief, temporary period of time. Specifically,

19   she requests that pretrial services release her passport for one day.
20                                            CONCLUSION
21
            For the reasons stated above, Ms. Willis-Casey’s, respectfully requests that the
22
     conditions of her pretrial release be modified such that she be allowed to possess her passport
23
24   for one day in order to renew her passport and Nevada driver’s license.

25          DATED this 22nd day of August, 2014.
26                                                  Respectfully submitted,
27                                                  /s/ James A. Oronoz        .
28                                                  JAMES A. ORONOZ, Esq.
                                                    Counsel for Carolyn Willis-Casey


                                                       3
         Case
          Case2:12-cr-00463-JCM-VCF
                2:12-cr-00463-JCM-VCF Document
                                      Document314  Filed08/22/14
                                               311 Filed 08/28/14 Page
                                                                   Page44
                                                                        ofof
                                                                           55



 1   JAMES A. ORONOZ, ESQ.
     Nevada Bar No. 6769
 2   ORONOZ & ERICSSON LLC
 3   700 South Third Street
     Las Vegas, Nevada 89101
 4   Telephone: (702) 878-2889
     Facsimile: (702) 522-1542
 5   jim@oronozlawyers.com
 6   Attorney for Defendant

 7                               UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
                                                     )
10   UNITED STATES OF AMERICA,                       )
                                                     )
11
            Plaintiff,                               )     CASE NO.      2:12-cr-463-JCM-VCF
12                                                   )
            vs.                                      )      ORDER
13                                                   )
14   CAROLYN WILLIS-CASEY,                           )
                                                     )
15          Defendant.                               )
                                                     )
16                                                   )
17                                                   )

18          IT IS HEREBY ORDERED that the conditions of Ms. Willis-Casey’s pretrial release be
19   modified so that she be allowed to obtain her passport from pretrial services for a period of one
20
     (1) day, for the purpose of renewing her passport and her Nevada driver’s license.
21                      28th            August
     DATED AND DONE this ______ day of ________________, 2014.
22
23
                                                          _____________________________
24                                                        UNITED STATES MAGISTRATE
     Respectfully Submitted By:
25
26   /s/ James A. Oronoz
     James A. Oronoz, Esq.
27   Nevada Bar No. 6769
28


                                                      4
         Case
          Case2:12-cr-00463-JCM-VCF
                2:12-cr-00463-JCM-VCF Document
                                      Document314  Filed08/22/14
                                               311 Filed 08/28/14 Page
                                                                   Page55
                                                                        ofof
                                                                           55



 1
                            CERTIFICATE OF ELECTRONIC SERVICE
 2
            The undersigned hereby certifies that I am an employee of Oronoz & Ericsson LLC and
 3
 4   that I am a person of such age and discretion so as to be competent to serve papers.

 5          That on August 22nd, 2014, I served an electronic copy of the above and foregoing
 6
     UNOPPOSED MOTION TO TEMORARILY MODIFY CONDITIONS OF PRETRIAL
 7
     RELEASE AND PROPOSED ORDER (FOURTH REQUEST) by electronic service (ECF) to
 8
     the person(s) named below:
 9
10                          DANIEL G. BOGDEN
                            United States Attorney
11                          333 Las Vegas Blvd. South, #5000
12                          Las Vegas, NV 89101
                            Counsel for United States
13
                            J. GREGORY DAMM
14                          Assistant United States Attorney
15                          333 Las Vegas Blvd. South, #5000
                            Las Vegas, NV 89101
16                          Counsel for United States
17
18
                                                  /s/  Lucas Gaffney                x
19                                                Employee of Oronoz & Ericsson LLC
20
21
22
23
24
25
26
27
28


                                                     5
